        Case 4:22-cv-00559-ALM-BD            Document 63        Filed 04/02/25        Page 1 of 2 PageID #:
                                                    1347
                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF TEXAS                               APR 0 2 2025
                                         SHERMAN DIVISION
                                                                                        CLERK, U.S. DIST ICT COURT
                                                                                               TEXAS EASTERN
 JENNIFER RYAN,

       Plaintiff,
                                                          CIVIL ACTION NO.: 4:22-cv-559
 v.

                                                          JURY TRIAL DE ANDED
 PAYPAL INC.,

       Defendant.



                MEMORANDUM IN SUPPORT OF DEFAULT JUDGMENT DAMAGES

Plaintiff Jennifer Ryan, pro se, requests default judgment against PayPal Inc. per Fed. R. Civ. P. 55(b), as PayPal

failed to respond. Plaintiff seeks $185M $50M economic, $20M emotional, $115M punitive for the

permanent destruction of her real estate, life coaching, and public commentary careers, as detailed in the Third

Amended Complaint and Declaration (Exhibit AA). This claim is supported by attached Exhibits AA-111 to

AA-118 (sales), Cl (leak, Dkt. #49), D (28+ articles, Dkt. #49), Q (jail costs, Dkt. #49), E (Fundly $800/day,

Dkt. #58), and additional exhibits to be provided: B (Fundly shut down), D-l (search smear), D-2 (50+ reports),

FF (Jenna Ryan Realty brand), GG (iHeartMedia), HH (network), II (client attacks), TT-1 to TT-6 (platform

bans), UU (lost listings), VV-1 to 10 (agent attacks), WW-1 to 5 (client rejections), XX (yard sign stigma), YY

(business scaling). Plaintiff requests a Rule 55(b)(2) hearing if needed to present further testimony and

evidence.



                                                                     April 2, 2025
                                                                     Respectfully submitt d,
                                                                     /
                                                                     J nnifer E
                                                                     409-49 lie >87
                                                                     iennaryanrealty@ mail.com

                                                                     Pro se Plaintiff




MEMORANDUM IN SUPPORT OF DEFAULT . UDGMENT                                                          Page 1 of 2
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                                       CERTIFICATE OF SERVICE

I, Jennifer Ryan, certify that on April 2, 2025,1 hand-delivered this Memorandum in Support of Default

Judgment Damages, with exhibits, to the United States Courthouse, 7940 Preston Rd, Plano, TX 75024, for

filing in Case No. 4:22-cv-559, and served it via CM/ECF to all counsel of record.

/s/ Jennifer L. Ryan




MEMORANDUM IN SUPPORT OF DEFAULT JUDGMENT                                                      Page 2 of 2
